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UNITED STATES DISTRICT COURT

DISTRICT OF ARIZONA
SEASEED

United States of America CRIMINAL COMPLAINT
REDACTED

Vv.

Nereo Mejia Gomer, Jr. CASE NUMBER: 24-0164/7MJ

I, the undersigned complainant, being duly sworn, state that the following is true and correct to
the best of my knowledge and belief:

On or about the dates described in Attachment A in the County of Yuma in the District of
Arizona, the defendant violated Title 18 U.S.C. § 2251(a) and (e) and 2256 (Production of Child
Pornography), Title 18 U.S.C. § 2252(a)(2), (b)(1) and 2256 (Distribution of Child Pornography),
and Title 18 U.S.C. § 2252(a)(4)(B), (b)(2) and 2256 (Possession of Child Pornography) offenses
described as follows:

See Attachment A — Description of Counts
I further state that I am a Special Agent from the Homeland Security Investigations and that

this complaint is based on the following facts:

See Attachment B — Statement of Probable Cause Incorporated by Reference Herein.

Continued on the attached sheet and made a part hereof: kl Yes L] No
AUTHORIZED BY: Gayle L. Helart, AUSA Ff PHibst_——/ De 20240818 15033-0700"
SA Kayla Cahill, HSI Aaybe Cah
Name of Complainant Signature of Complainant

Subscribed and sworn electronically
April 18, 2024 at Yuma, Arizona

Date City and State

HONORABLE JAMES F. METCALF (lea
United States Magistrate Judge \

Name & Title of Judicial Officer Signature of Judicial Officer
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NO DN BR NR WH BR BRD RD RDO se ot

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ATTACHMENT A
DESCRIPTION OF COUNTS
COUNT 1

On or about the dates below, in the District of Arizona and elsewhere, the defendant,

NEREO MEJIA GOMEZ, JR., did knowingly use a minor, namely Jane Doe age 17, to engage
in sexually explicit conduct for the purpose of producing any visual depiction of such conduct
knowing and having reason to know that the visual depiction would be transported and
transmitted using any means and facility of interstate and foreign commerce, and in and
affecting interstate and foreign commerce and mailed, if the visual depiction was produced and
transmitted using materials that have been mailed, shipped, and transported in and affecting
interstate and foreign commerce by any means, including by computer, and such visual
depiction was actually transported and transmitted using any means and facility of interstate

and foreign commerce and in and affecting interstate and foreign commerce and mailed, to wit:

Count Date File Name

I November 9, 2022 | 20190802_081305.jpg

7 March 21, 2023 167978312181 1.mp4
1679780663630.mp4

3 March 25, 2023 VideoCapture_20230707-131340.jpg

All in violation of Title 18, United States Code, Section 2251 (a), (e), and 2256.
[This violation is punishable by a term of imprisonment of 15 years — 30 years,

$250,000, and a term of supervised release of between 5-life.]

COUNTS 4-7

On or about the dates below, in the District of Arizona and elsewhere, the defendant,
NEREO MEJIA GOMEZ, JR., did knowingly distribute a visual depiction that involved the
use of a minor engaging in sexually explicit conduct and where such visual depictions were of
such conduct; and where the visual depiction was mailed, shipped and transported using any

means or facility of interstate or foreign commerce and in and affecting interstate and foreign

-j-

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commerce, and had been produced using materials which had been mailed, shipped, and

transported by any means, including by computer, to wit:

Count | Date File Name Distributed

4 February 7, 2024 e0a99ab6e-49a3-43 ff-85e2-3addc38 1 0acb.mp4
93 leedbc-c94e-460d-b058-26771 85a63a9.mp4

5 February 9, 2024 026a7d98-7c0c-4701-bce2-f£45f456f0aee.mp4

66593203-ad39-4cd0-8782-6da8e2b4941b.mp4
230249cc-6549-4293-8758-7bd0eealacsd.mp4
d08b2035-df6d-4e5 1-8695-860fae5 £43c5.mp4
2e9eccdd-4d1 0-4395-830c-cc8580d49af0.mp4
6 February 10, 2024 752082ac-b92b-4365-bbc1-66367498flec.mp4
7 February 14, 2024 a9171984-c279-48be-a572-e34f0b22a472.jpg

All in violation of Title 18, United States Code, Section 2252(a)(2).

[This violation is punishable by a term of imprisonment of 5 years — 20 years,

$250,000, and a term of supervised release of between 5-life.]

COUNT 8

On or about April 9, 2024, in the District of Arizona and elsewhere, the defendant,
NEREO MEJIA GOMEZ, JR., did knowingly possess and access with intent to view one or
more matters which contains a visual depiction that has mailed or shipped or transported using
any means or facility of interstate or foreign commerce, or in or affecting interstate or foreign
commerce, or which was produced using materials which have been mailed or so shipped or
transported by any means, including by computer, if the producing of the visual depiction
involved the use of a minor engaged in sexually explicit conduct and such visual depiction is
of such conduct (child pornography). The visual depiction involved in the offense involved a
prepubescent minor or a minor who had not attained 12 years of age. Some of the files
possessed and knowingly accessed with intent to view include:

ilovecphfjziywno.onion_019.jpg

oOo Oo NIN DH FP WY VY

DO wo BW BD RO BRD BR RO Rm Om wm ea epee
So Sa DBD On Fe WD VY FY DTD CO Be HS DW HH Fe YH YP YS OC

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1552025107.jpg

cum on little girl.avi

24. jpg

uu.avi

ilovecphfjziywno.onion_100.jpg

ilovecphfjziywno.onion_141 jpg

cp nifia mamando en el coche(1).mp4

falkoimage022.jpg

VID-20150419-WA0076.mp4

In violation of Title 18, United States Code, Sections 2252(a)(4)(B).
[This violation is punishable by a term of 0-20 years’ imprisonment, $250,000, and a

term of supervised release of between 5-life.]

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ATTACHMENT B
STATEMENT OF PROBABLE CAUSE

I, Kayla Cahill, Special Agent with Homeland Security Investigations (HSI), being

duly sworn, depose and state as follows, to wit:
AGENT BACKGROUND

1. Lam aSpecial Agent with HSI assigned to the Yuma office. Ihave been so employed
for three years and I am specifically assigned to the HSI Yuma Cyber/Special Investigation
Group, which focuses on crimes where computers and the Internet are used in the sexual
exploitation of children. I am responsible for conducting federal and international
investigations relating to crimes involving the sexual exploitation of children. I have
received basic and on-the-job training in the investigation of cases involving the sexual
exploitation of children. I am familiar with the definition of child pornography as it is
defined under federal law in 18 U.S.C. § 2256. The statements contained in this Affidavit
are based on my experience and background as a Special Agent and on information provided

by other law enforcement agents.

2. This affidavit is made in support of an application for a criminal complaint and arrest
warrant for NEREO MEJIA GOMEZ, JR. (GOMEZ), DOB XX/XX/1982 for violations of
18 U.S.C, §§ 2251(a) and 2251(e) and 2256 (Production of Child Pornography), 18 U.S.C.
§§ 2252(a)(2), 2252(b)(1), and 2256 (Distribution of Child Pornography), and 18 U.S.C. §§
2252(a)(4)(B), 2252(b)(2), and 2256 (Possession of and/or Access to View Child
Pornography).

INTRODUCTION

3. The facts of this case, as more fully detailed herein, are that on February 7, 9, 10, and
14, 2024, a subject uploaded and transmitted child sexual abuse material (CSAM), Le.,
child pornography how it is defined under 18 U.S.C. § 2256, via the Internet. Namely, the
activity took place on the social media application “Kik”. Kik officials viewed the CSAM

files in their entirety and submitted the files and a report to Internet Crimes Against

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Children (ICAC). Investigative steps determined that the subject sent the CSAM while
utilizing the social media application Kik under the account name of cindyluv17. The
subject used IP address 24.30.177.191. Investigative steps determined that the IP address
was assigned to the Charter account of NEREO GOMEZ at an address on 12th Place in
Yuma, AZ 85364 (actual address known to law enforcement). National Crimes Against
Children (NCMEC) advised that from the files Kik observed distributed from the
cindyluv17 account, one file that cindyluv17 sent was an unknown image of CSAM (but
the rest were known images). The one unknown image could be an indicator that it was

newly produced and just starting to circulate.

4. On April 10, 2024, the Honorable James F. Metcalf issued federal search warrants,
which remain sealed at this time, to search GOMEZ’s residence (Case No. 24-1579mb),
GOMEZ’s vehicles (Case No. 24-1578mb), and GOMEZ’s person (Case No. 24-1577mb).

5. On April 10, 2024, those search warrants were executed and several digital devices
were seized. A forensic analysis remains ongoing, however, an external hard drive with a
large 2 terabyte capacity for storage was located in GOMEZ’s residence, with some
analysis completed on it. Specifically, the 2 terabyte external hard drive was located within
a range bag in a separate bathroom just outside the master suite (meaning a bedroom and
bathroom combined). I am familiar that a range bag is a bag designed to hold firearms and
ammunition, often with several compartments, and GOMEZ’s employment involves being
trained in firearms. The separate bathroom also contained uniforms consistent with
GOMEZ’s employment, a badge consistent with GOMEZ’s employment, and other adult
male clothing. The 2 terabyte external hard drive located in the range bag contained the
files listed in Counts 1 (Production of Child Pornography) and Count 8 (Possession and/or
Access with Intent to View Child Pornography). I am now seeking to arrest GOMEZ
pursuant to a criminal complaint for three (3) counts of Production of Child Pornography
(18 U.S.C. §§ 2251(a), 2251(e), and 2256); four (4) counts of Distribution of Child
Pornography (18 U.S.C. §§ 2252(a)(2), 2252(b)(1), and 2256), and one (1) count of
Possession of Child Pornography (18 U.S.C. §§ 2252(a)(4)(B), 2252(b)(2), and 2256).
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THE INVESTIGATION
6. On April 4, 2024, the National Center for Missing and Exploited Children (NCMEC)

received areferral from Kik, an electronic service provider. The referral included 10 files,
9 of which had been viewed by Kik employees before sending the referral to NCMEC.
NCMEC did further investigation and sent the referral to the Arizona Internet Crimes
Against Children based on the IP address of the account from where the files were
distributed, and HSI Yuma received the tip on April 9, 2024. I observed that the NCMEC
referral included the statement: “ECD Escalation: Please be advised the reported files
appear UNFAMILIAR to NCMEC and may be NEWLY PRODUCED and/or
HOMEMADE.” The NCMEC referral further reflected that Kik reported one of the files
as “Possible Self-Production” and the further NCMEC investigation described that at least
some of the files were Apparent Child Pornography by either NCMEC’s review of the
information or uploaded files or a “hash match” of one or more of the uploaded files.
7. The referral also reflected that the screenname or username by the Kik account was
“cindyluv17” and the Display name for the account was “Cindysdad 17.”
8. Kik provided to ICAC that cindyluv17’s activity was from IP address
24.30.177.191.
9. A query of IP Address 24.30.177.191 came back to Charter Communications. An
Exigent Request was submitted to Charter via a DHS summons on April 9, 2024, for
subscriber information. On April 9, 2024, Charter responded that the subscriber of IP
addresses is registered to NEREO GOMEZ at the address on 12th Place, Yuma, AZ 85364.
I have determined that GOMEZ’s full name is NEREO MEJIA GOMEZ, JR., DOB
XX/XX/1982 (full DOB known to law enforcement), and that he and his wife own the
residence at the address on 12th Place, Yuma, AZ.
10. On April 9, 2024, I reviewed the files transmitted from IP address 24.30.177.191 as
reported and submitted by Kik. The files appeared to me to depict child sexual abuse
material, i.e., child pornography. The nine files can be described as follows:

a. File Name: e0a99a6e-49a3-43ff-85e2-3addc38 10acb.mp4

Length: 54 seconds
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Sent on February 7, 2024

IP Address 24.30.177.191 (Port: 35202) Login 02-07-2024 15:22:42 UTC
Description: This video is poor quality overall, but appears to me to be
a nude, young female who appears no older than 14 because I see some
breast development but no pubic hair development. She is seated on a
tile floor. Her face is not visible. She is penetrating herself with her
finger.

Kik advised this was sent from cindyluv17 to another user via private chat.

b. File Name: 93 leedbc-c94e-460d-b058-2677185a63a9.mp4

Length: 1 minute 42 seconds

Sent on February 7, 2024

IP Address 24.30.177.191 (Port: 35202) Login 02-07-2024 15:21:46 UTC
Description: This video shows a girl, who is possibly Hispanic, who
appears no older than 12 to me. She is fully nude with no pubic hair or
breast development. The girl digitally penetrates her anus and vagina,
and then inserts a foreign object into her vagina and then her mouth.

Kik advised this was sent from cindyluv17 to another user via private chat.

c. File name: 026a7d98-7c0c-4701-bce2-f45f456f0aee.mp4

Video Length: 54 seconds

Sent on February 9, 2024

IP Address 24.30.177.191 (Port: 44506) Login 02-09-2024 00:19:06 UTC
Description: Visually, this is the same video as was sent on February 7,
2024, under 10(a) above though it had a different file name. This video
is poor quality overall, but appears to me to be a nude, young female
who appears no older than 14 to me because I see some breast
development but no pubic hair development. She is seated on a tile
floor. Her face is not visible. She is penetrating herself with her finger.

Kik advised this was sent from cindyluv17 to another user via private chat.

d. File name: 66593203-ad39-4cd0-8782-6da8e2b494 1 b.mp4

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Length: 4 seconds
Sent on February 9, 2024
IP Address 24.30.177.191 (Port: 44506) Login 02-09-2024 00:18:21 UTC
Description: This short video shows an adult man having sexual intercourse with
a female who appears to me to be a teenager, but not older than 18, due to what I
can see of her face, minimal breast development, and her narrow body frame. The
female’s face is visible but the adult man’s face is not.
Kik advised this was sent from cindyluv17 to another user via private chat.
Filename: 23¢249cc-6549-4293-8758-7bd0eealacSd.mp4
IP Address 24.30.177.191 (Port: 44506) Login 02-09-2024 00:19:21 UTC
Length: 30 seconds
Sent on February 9, 2024
Description: This video shows a prepubescent girl, possibly Hispanic, who appears to
be no older than 12 to me. The girl is alone in front of camera and is standing in her
underwear with no shirt. The girl shows her chest area to the camera, and she has no
breast development. The girl removes her underwear, spreads her legs, and exposes her
nude genitalia for the person holding the camera.
Kik advised this was sent from cindyluv17 to another user via private chat.
Filename: d08b2035-df6d-4e5 1-8695-860fae5 f43c5.mp4
Length: 1 minute 30 seconds
Sent on February 9, 2024
IP Address 24.30.177.191 (Port: 52722) Login 02-09-2024 21:36:44 UTC
Description: This video shows a prepubescent girl, possibly Hispanic,
who appears no older than 12 to me. The girl is wearing a green t-shirt
but is otherwise nude. The girl is standing alone in front of the camera.
The girl puts her finger into her vagina and exposes her nude genitalia to
the camera. The girl then inserts a hairbrush handle into her vagina. She
appears to be talking to the camera but there is no audio.

Kik advised this was sent from cindyluv17 to another user via private chat.

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Filename: 2e9eccdd-4d10-4395-830c-cc8580d49af0.mp4

Length: 19 seconds

Sent on February 9, 2024

IP Address 24.30.177.191 (Port: 44506) Login 02-09-2024 00:19:36 UTC
Description: This video shows a girl, possibly Hispanic, who appears to
be no older than age 12 tome. The girl is wearing a tank top and I cannot
see any breast development. An adult man is seen from the stomach
down and is not wearing any underwear or pants. The child moves her
hand up and down the man’s penis. The child then puts her mouth on his
penis.

Kik advised this was sent from cindyluv17 to another user via private chat.

File name: 752082ac-b92b-4365-bbe 1-6b367498f] ec.mp4

Length: 44 seconds

Sent on February 10, 2024

IP Address 24.30.177.191 (Port: 52722) Login 02-10-2024 21:37:12 UTC

Description: This video shows a nude adult man sitting on a bed, but his face is

outside the camera view. A prepubescent girl, possibly Hispanic, who
appears no older than 12 to me is kneeling in front of him, with only her
head, face, and hands being visible in the frame. The girl applies an
unknown, white-colored substance from a white packet onto the male’s
penis. The girl then performs oral sex on the male.

Filename: a9171984-c279-48be-a572-e34f0b22a472.jpg

Sent on February 14, 2024

IP Address 24.30.177.191 (Port: 40924) Login 02-14-2024 16:21:56 UTC
Description: The image shows a nude girl who appears to be an infant or
toddler-aged to me due to small body size. An adult male’s hand is
visibly spreading the child’s buttocks to show her anus and vagina to the
camera.

Kik advised this was sent from cindyluv17 to another user via private chat.

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NOTE: This was the file that was notated by NCMEC as being unfamiliar to

them.

11. On April 9, 2024, agents conducted surveillance of GOMEZ’s residence at the 12th

Place address in Yuma, AZ.

I also checked with the

Yuma County records that reflect that the house on 12th Place, Yuma, Arizona, 85364
(i.e, SUBJECT PREMISES) is owned by Nereo GOMEZ Jr. ETAL (Affiant Note: I
assume this means et al.).

12. Law Enforcement Databases revealed GOMEZ has had co-travelers while traveling

between the United States and Mexico.

Further, the

house that GOMEZ owns is also occupied by an adult female with a hyphenated name
that includes “GOMEZ” who is now determined to be GOMEZ’s wife. Additionally,
during the search warrant execution on April 10, 2024, I learned that GOMEZ has regular

access to “Jane Doe,”

13. On April 10, 2024, after HSI Special Agents conducted the search warrant at
GOMEZ’s residence, HSI] Computer Forensics Agent Jarad Larsen and Group Supervisor
Eric Tolman, conducted a preview at the HSI Yuma Office of some of the items seized. In
particular, CFA Larsen conducted a review, using forensic tools to maintain evidence
integrity, of the black Samsung T7 2TB Shielded External Hard Drive labeled as Line Item
0001. This 2 terabyte external hard drive was found in a range bag in an extra bathroom
separate from the bedroom/bathroom master suite. This separate bathroom also contained
GOMEZ’s uniforms, a badge, and adult male clothing consistent with GOMEZ using this
bathroom.

14. A review of the external hard drive (i.e., forensics is ongoing) showed a
folder/subfolder structure, with one subfolder named “Bedroom.” The “Bedroom”

subfolder contained numerous videos and pictures of a teenage girl that appeared to be

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taken without her knowledge. The teenage girl was in various states of undress, including

images and videos of her completely nude.

then returned to GOMEZ’ residence after consulting with the Assistant U.S. Attorney.
Agents then spoke to GOMEZ’s wife who is a co-owner of the residence. At the time
agents spoke with the GOMEZ’ wife, GOMEZ had since left the residence. Special Agents
received written consent from GOMEZ’s wife to do a secondary search of the residence
looking specifically for hidden cameras. During the review of the suspected hidden camera
videos, Special Agents observed particular viewpoints from which the videos appeared to

be recorded.

15. During the secondary search, Special Agents discovered black USB cables hanging

down in three separate air vents. The cables had micro-USB end plugs.

No recording devices were

discovered during the search. However, the USB cables are consistent with power cables
commonly used with wireless devices used to record both audio and video. Special Agents
then searched the attic area in the region of the bedroom, closet, and bathroom where the
cables were located. Inside the attic area, Special Agents discovered that there were several
power extension cords laid throughout the attic. At three different locations, there were
black power blocks plugged into the extension cords. These power blocks had long black
USB cables plugged into them, and the cables were run over to the air ductwork of the
house. The air ductwork had holes cut into it and the cables were inserted into the

ductwork, where they were hanging down to the end of the air vents that were servicing

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the different locations of the 1s,
RUN Special Accnts documented and

collected the cables from the attic for evidence. CFA Larsen showed GOMEZ’s wife the

cables collected from the attic and questioned her as to whether she recognized the cables.
GOMEZ’s wife informed CFA Larsen that she had never seen them before.

16. I have learned from CFA Larsen that the 2 terabyte hard drive contained a
folder/subfolder structure, with analysis ongoing. CFA Larsen continued to process the
electronic evidence collected during the search warrant. While reviewing the same Line
Item 0001 hard drive, CFA Larsen discovered a video labeled 1654147747816.mp4 that
appeared to have been taken by a hidden camera i ee)
re The video appeared to be from the exact same perspective of the air vent in the

closet and included vertical bars across the view, consistent with a perspective from behind

their vent restr,
Ep cxirately 15 second

later, the light turns back on, and GOMEZ enters the closet. GOMEZ looks up towards the
vent and then grabs a stool that was in the bedroom next to the closet. GOMEZ then places
the stool under the air vent and steps up on it. GOMEZ looks straight at the camera several
times and has his hands up near the vent. GOMEZ’s hands are not visible, and no tools are
seen but the camera begins to shake and move as if it is being manipulated and the vent is
being lowered to access the camera. The video then abruptly ends. GOMEZ was positively
identified as by CFA Larsen who met him during the execution of the search warrant. I
also viewed the video and a screenshot of the subject taken from the video and can

positively identify GOMEZ as the subject in this video, see below:
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17. More specifically to the charges of production of child pornography (Counts 1-3) and
possession of child pornography (Count 8), HSI forensic agents noted one subfolder on

the external hard drive was named “Bedroom,” which contained image and video files

depicting Jane Doe, engaging in sexually explicit conduct.

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Ee The file names are:

Count Date Created File Name
1 November 9, 2022 20190802 _081305.jpg
2 March 21, 2023 167978312181 1.mp4
1679780663630.mp4
3 March 25, 2023 VideoCapture_20230707-
131340.jpg

18. The forensic review of the folder/subfolder organized structure on the external hard

drive also showed numerous child pornography files had been saved, and thus possessed,

by GOMEZ. Ten examples of these files (Count 8-Possession of Child Pornography),

which I have seen can be described as:
File 1:
Name: ilovecphfjziywno.onion_019.jpg
File Path: Partition-1\New Folder_19
Size: 143.11 KiB
Date: October 27, 2020
Description: Color image of a dark-haired pre-pubescent female toddler, approximately 5
years old, sitting on what appears to be a bed with dark covering, gray and red. Toddler is
wearing a white and yellow shirt with “Spongebob Squarepants” image on front. Toddler
has no pants on, with underwear pulled down to her knees, exposing her genitals. Toddler
has an adult male penis in her mouth and is gripping the penis with one hand. The adult

male has his pants pulled down, exposing his penis fully.
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File 2:

Name: 1552025107 jpg

File Path: Partition-1\New Folder_19

Size of File: 533.67 KiB

Date: October 27, 2020

Description: Color image of a dark-haired pre-pubescent female toddler with olive colored
skin, approximately 3-5 years old, lying flat on her back with legs spread open, on a white
sheet with blue clover style print. Toddler is completely naked, with genitals visible. A
naked adult male with light brown skin and covered with black hair is sitting between the
legs of the toddler with his groin lined up with the toddler’s groin. The adult male has his
erect penis inserted in the child’s vagina. The toddler’s face is turned away from the adult

male.

File 3:

Name: cum on little girl.avi

File Path: Partition-1\New Folder_19

Size of File: 9.72 MiB

Length of Video: 1 min 47 sec

Date: October 27, 2020

Description: Color video file of a light skinned pre-pubescent female toddler, approximately
5-7 years of age, lying on her back on what appears to be a chair covered in blue fabric. The
back of the chair is covered with a brown coat or towel. The child is naked down to her
belly and has no visible breast development. At approximately 3 seconds, an adult male
walks into the video frame with purple track style pants and exposes his penis to the child.
The adult male is only visible from the waist down. The adult male then pulls the foreskin
back on his erect penis. The adult male reaches down and grabs the back of the head of the
toddler and lifts her head so she leans up onto her elbows and the male puts his penis in the
toddler’s mouth causing her to gag. While holding the back of the toddler’s head, the adult

male forces the toddler to perform oral sex on him. The adult male then removes his penis

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from the toddler’s mouth and proceeds to masturbate while holding the end of his penis to
the lips of the child. At approximately 1 minute 30 seconds the adult male ejaculates over

and into the mouth of the child.

File 4:

Name: 24.jpg

File Path: Partition-1\P3.do pic

Size of File: 40.89 KiB

Date: October 28, 2020

Known Series: WHITE CAP

Description: Color image of a light skinned, pre-pubescent male approximately 8-10 years
old, lying on his back, completely naked, on a bed with a white ball cap on that is turned
backwards. The bed has a white cover with floral print. There is yellow or white wallpaper
with vertical stripes on the wall. There is a light-skinned, adult female with straight shoulder
length blond hair with bangs, lying next to the child and has the child’s penis in her mouth.
The adult female has her hand on the child’s genitals.

File 5:

Name: uu.avi

File Path: Partition-1\P3.do pic

Size of File: 10.51 MiB

Length of Video: 39 sec

Date: October 28, 2020

Known Series: CA/SWEET SUGAR

Description: Color video of a light skinned, pre-pubescent female toddler with light brown
hair, approximately 3-4 years old, sitting on the floor next to a light-skinned adult male who
is lying down on his back. The child is completely naked. Only the groin area of the adult
male is visible, including the male’s erect penis. The toddler is gripping the male’s penis in

her left hand and her fingers cannot wrap all the way around the penis. The female toddler

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is seen performing oral sex on the adult male. At approximately 2 seconds into the video,
the adult male ejaculates into the mouth of the toddler. The toddler then gags and spits out

a white milky substance that appears to be semen onto the adult male’s waist area.

File 6:

Name: ilovecphfjziywno.onion_100.jpg

File Path: Partition-1\P3.do pic

Size of File: 103.29 KiB

Date: October 27, 2020

Known Series: DE/STB-MARIE

Description: Color image of a light skinned, barely pubescent female, approximately 12
years old, with light brown hair. Female child is fully naked, lying on a light brown blanket
with a square print pattern. Female has very minimal breast development and small amount
of pubic hair. Female child has both hands tied at the wrists with a thin yellow and orange
rope. The rope goes from the child’s wrists, around what appears to be a wooden leg of a
headboard at the side of the child and then down around the child’s right leg where it is
holding what appears to be a dildo inserted into the child’s vagina. The rope then continues

down the child’s leg and appears to be wrapped around her knee.

File 7:

Name: ilovecphfjziywno.onion_141 jpg

File Path: Partition-1\P3.do pic

Size of File: 206.84 KiB

Date: October 27, 2020

Known Series: RED WINGS

Description: Color image of a light-skinned, pre-pubescent female toddler that is
approximately 4-5 years old. The toddler has straight light brown hair that is tied into two
braids about shoulder length. The toddler has a blue colored shirt with thin shoulder straps,
that is pulled up to her shoulders, exposing her chest. The toddler is naked from the chest

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down with her underwear around her ankles. The toddler is leaning back on what appears
to be a couch cushion that is leaning in front of a brown couch that has various articles of
children’s clothing on it. The toddler has her knees spread open, exposing her vagina. A

medium sized brown and white dog has its nose up to the child’s vagina.

File 8:

Name: cp nifia mamando en el coche(1).mp4

File Path: Partition-1\P3.do pic

Size of File: 11.63 MiB

Length of Video: 9 min 55 sec

Date: October 28, 2020

Description: Color video including audio of a light skinned, pre-pubescent female
approximately 8-10 years old, with short light brown hair, completely naked, performing
various sex acts with a light skinned adult male inside the back seat of a vehicle. Video
begins with a black splash screen with white Russian letters. At approximately 9 seconds,
an adult white male, naked from the waist down with a white shirt, is seen sitting next to the
child with his penis exposed. The child then performs oral sex on the adult male. At
approximately 1 minute 49 seconds, the child sits up and the naked child is seen, including
her chest and vaginal areas. The child lays down on her back with her crotch towards the
adult male and has her legs spread and raised, with her vagina and anus exposed. The adult
male then inserts his finger into the anus and vagina of the child. The video pans up to the
face of the child who is frowning. At approximately, 4 minutes 47 seconds an adult penis is
seen next to the child’s vagina and the child’s hand begins stroking the penis. At
approximately 7 minutes and 15 seconds, the adult male inserts his penis in the child’s anus.
The adult male then proceeds to have anal sex with the child for several minutes. At
approximately 9 minutes 50 seconds the adult male removes his penis from the child’s anus

and semen is seen on the end of his penis.
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File 9:

Name: falkoimage022.jpg

File Path: Partition-1\P3.do pic

Size of File: 89.86 KiB

Date: October 28, 2020

Known Series: DK/Falkovideo

Description: Color image of a light-skinned, pre-pubescent female toddler that is
approximately 4-5 years old with longer brown hair. The toddler is completely naked except
for black fishnet style stocking on both legs and a black lace garter around her waist. The
toddler is laying on her back with her vagina towards the camera. The toddler is lying on
top of an adult male’s stomach, who is also naked with his erect penis underneath the
buttocks of the child. The adult male is oriented in the same direction as the toddler. The
toddler’s vagina is exposed as well as her chest and both are clearly visible in the image.
The child has what appear to be silver metal handcuffs connecting both wrists and her hands

are down by her hips. The adult male has his left hand on the toddler’s left knee.

File 10:

Name: VID-20150419-WA0076.mp4

File Path: Partition-1\P3.do pic

Size of File: 1.55 MiB

Length of Video: 25 sec

Date: October 28, 2020

Description: Color video including audio of a light skinned, pre-pubescent female toddler,
approximately 3-4 years old, with shoulder length brown hair, in a white tub, performing
oral sex on a light skinned adult male. The video begins with the toddler standing up at the
edge of a tub, fully nude. There appears to be a few inches of water in the bottom of the tub
and what appear to be blue and white and red and white toys are floating in the water. The
video is taken from the perspective of a someone standing next to the tub and above the

toddler. A light-skinned erect penis is seen in front of the toddler. The toddler has both hands

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around the penis and has the end of the head of the penis in her mouth. The toddler is seen
kissing and caressing the penis with her lips. The toddler leans back away from the penis
and smiles up at the adult male. The toddler then leans back and attempts to put the penis in
her mouth. The head of the penis is too large for it to fully fit in her mouth and the adult
male puts his hand on the back of the toddler’s head and attempts to push her head forward
and his penis further into the mouth of the toddler. The adult male repeatedly does this

through the end of the video.

CONCLUSION
19. Based on the foregoing, there is probable cause to believe that NEREO MEJIA
GOMEZ, JR., violated 18 U.S.C. §§ 2251(a) and 225 1(e), and 2256 (Production of Child
Pornography), 18 U.S.C. §§ 2252(a)(2), 2252(b)(1), and 2256 (Distribution of Child
Pornography), and 18 U.S.C. §§ 2252(a)(4)(B), 2252(b)(2), and 2256 (Possession of
and/or Access to View Child Pornography).

Respectfully submitted,
Kayla Cahill

KAYLA R. CAHILL
Special Agent, Homeland Security Investigations

Subscribed and sworn telephonically before me this_18th_ of April, 2024.

HONGRABLE JAMES F. METCALF
United States Magistrate Judge

